                    Case 1:14-cv-00674-JKB Document 15 Filed 02/05/16 Page 1 of 1



                                         UNITED STATES DISTRICT COURT
                                               DISTRICT OF MARYLAND

            CHAMBERS OF                                                                      101 WEST LOMBARD STREET

       JAMES K. BREDAR                                                                       BALTIMORE.   MARYLAND 21201
                                                                                                (410) 962.0950     OFFICE
  UNITED STATES DISTRICT JUDGE
                                                                                                  (410) 962.0070    FAX
MDD_J KBC ham be rs@mdd.uscourls.gov




                                                   February 4,2016

                                       MEMORANDUM TO COUNSEL OF RECORD




                 Re.        Quainoo v. McGibney et al.
                            Civil No.: JKB-14-674

       Dear Mr. Lawson:

              This is in response to your unfiled letter to chambers about the memorandum and order I
      entered on January 4, 2016. In order for the Court to take the action you have requested, it is
      necessary for you to make a formal filing that requests the specific actions your client wishes the
      Court to take in the process of unsealing the case. The motion shall make reference to specific
      documents or parts thereof. Such motion shall be filed on or before February 22, 2016. The
      Court's orders, including this one, will not be withdrawn from the docket and will not be sealed.

                     Despite the informal nature of this ruling, it shall constitute an Order of Court,
      and the Clerk is directed to docket it accordingly.

                                                              Very truly yours,


                                                         4~
                                                          ...
                                                            /fA-(3~
                                                              James K. Bredar
                                                              United States District Judge

      JKB/vdc
